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IN THE uNITED STA'I'ES DISTRICT cou@‘gm.l~.; 19 m 51 59
FoR THE WESTERN DISTRICT oF TENNESSEE
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ALMA BOYKINS,
Plaintiff,
v.

No. 03-2351 Ma/P

SEARS & ROEBUCK, INC.,

Defendant.

 

ORDER DENYING PLAINTIFF’S MOTIONS §§ LIMINE WITHOUT PREJUDICE

 

 

Plaintiff Alma Boykins (“Boykins”) brings claims against
Defendant Sears Roebuck & Co.l (“Sears”) under Title VII of the
Civil Rights Act of 1964, 42 U.S.C. § 2000e, the Civil Rights Act
of 1866, 42 U.S.C. § 1981, the Tennessee Human Rights Act (“THRA”),
Tenn. Code Ann. § 4-21-701, and Tennessee common law. Before the
court are Plaintiff's motions in limine, filed on November 3, 2004,
l) to exclude introduction of information on Ida Wade and 2) to
exclude evidence of previous employment information. For the
following reasons, the motions are DENIED without prejudice to
Plaintiff’s ability to raise evidentiary objections at trial.

I. Motion to Exclude Information on Ida Wade

Plaintiff moves to exclude evidence that a credit card fraud

ring run by Ida Wade Was operating at the Sears franchise located

at Raleigh Springs Mall. Plaintiff argues that this evidence is

 

1 The suit names Sears & Roebuck, Inc., but Sears reports that it is
correctly referred to as Sears Roebuck & Cc>. (Def.'s Mot. to Strike and Answer
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irrelevant and highly'prejudicial. Sears argues that this evidence
is relevant because the presence of the fraud ring caused Sears to
notify its employees to be “on the lookout for suspicious credit
transactions,” and Plaintiff was discharged for processing an
irregular credit transaction of the precise type commonly used by
the Wade fraud ring.

The only evidence Plaintiff specifically cites as
objectionable is the deposition of Sears employee Larry Mosby, in
which Mosby states that he is unfamiliar with the name Ida Wade or
any credit card fraud ring associated with her. If anything, this
evidence supports Plaintiff's position, not Sears's. Because
Plaintiff has not identified any other evidence pertaining to Ida
Wade or the fraud ring, the court is not in a position to rule on
its relevance or potential for prejudice. If Sears can show that
the Raleigh Springs employees were on notice that a fraud ring was
operating in the area and were specifically instructed to
scrutinize credit card transactions, such evidence would appear
relevant in proving' Sears's actual motivation for terminating
Plaintiff’s employment. If, at trial, Sears attempts to offer
evidence that is irrelevant and/or prejudicial, Plaintiff may again
raise her objection.

II. Motion to Exclude Previous Employment Information

Plaintiff seeks to exclude any evidence of “past employment
activities and records prior to her being employed with the
Defendant.” She argues that any such evidence is impermissible
under Fed. R. Evid. 608, which. prohibits the introduction of

specific instances of conduct to attack the character of a witness.

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In addition, prior employment history has the potential for undue
prejudice to Plaintiff under Fed. R. Evid. 403. Sears argues,
however, that Plaintiff testified in her deposition that she had
never previously been terminated from employment when, in fact, she
had. Evidence of a witness's prior inconsistent statements is
regularly allowed under Fed. R. Evid. 613. See James v. Illinois,
493 U.S. 307, 325 n.1 (1990); Delaware v. Fensterer, 474 U.S. 15,
21 (1985). It is also permissible to impeach a witness with her
prior deposition testimony under Fed. R. Evid. 607. §e§ Young v.
Lumenis, Inc., 341 F. Supp. 925, 931 (S.D. Ohio 2004); Fling v.
Hollvwood Travels and Tours, 765 F. Supp. 1302, 1306-07 (N.D. Ohio
1990).

Thus, the court cannot, at this stage in the proceedings,
categorically exclude evidence of Plaintiff’s employment history.
If, at trial, Sears attempts to offer evidence that is inadmissible

under Fed. R. Evid. 403 or 608, Plaintiff may renew her objection.

so oRDERED this /%Mday of May 2005.

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

     

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